Case 3:24-mc-80326-LB   Document 1-3   Filed 12/30/24   Page 1 of 7




                        Schedule 1
     Case 3:24-mc-80326-LB         Document 1-3       Filed 12/30/24      Page 2 of 7




3rd Floor, Tamagawa Building, 1-20,
Yotsuya, Shinjuku-ku
Tokyo, Japan 160-0004
TOKYO FLEX LAW OFFICE
Nakajima Hiroyuki, Attorney-at-Law
TEL ＋８１－３―３３５３―３５２１
MAlL abuse.flex.law.group@gmail.com
Attorney for STARTO ENTERTAINMENT, Inc.


                                    June 25, 2024

Via Email
X Corp.
Attn: Copyright Agent
1355 Market Street, Suite 900
San Francisco, CA 94103
Email: copyright@x.com

       RE:    NOTIFICATION OF COPYRIGHT INFRINGEMENT
              (Pursuant to 17 U.S.C. § 512)

To whom it may concern:

         I represent STARTO ENTERTAINMENT, Inc., a Japanese corporation
(hereinafter called “STARTO”), the copyright holder identified under the column entitled
“Original Work” in Exhibit A attached to this notice (“Exhibit A”).

        It has recently come to STARTO ’s attention that certain users of your services have
posted company’s event design illegally for fraudulent purposes, such as pretending to be
STARTO and directing users to phishing sites.
 More specifically identified under the column entitled “Infringing Account” in Exhibit A
(referred to as the “Infringing Account”), corresponding to each of the Original Work
identified in Exhibit A.

         STARTO has a good faith belief that the Infringing Work is not authorized by the
copyright owner, its agent, or the law.

         We demand that you immediately disable access to the Infringing Work and cease
any use, reproduction, and distribution of the Original Work. Specifically, we request that
you remove or disable the Infringing Account from your system or services.

        We also request a written assurance that you have fully complied with our request.
     Case 3:24-mc-80326-LB          Document 1-3          Filed 12/30/24    Page 3 of 7




         I declare that the information in this notice is accurate, and under penalty of
perjury, that I am authorized to act on behalf of the owner of the exclusive right of the
Original Work that is infringed.

         Your immediate response will be appreciated.


                                      Very truly yours,


                                      Hiroyuki Nakajima
                                      Attorney at Law
                 Case 3:24-mc-80326-LB        Document 1-3   Filed 12/30/24   Page 4 of 7




     Extibit A

        Title of Original Work            Original Work                   Infringing Account


1    EVENT DESIGN                https://weare-starto.com/   https://x.com/we__are_starto
2    EVENT DESIGN                https://weare-starto.com/   https://x.com/_weare_starto
3    EVENT DESIGN                https://weare-starto.com/   https://x.com/Weare_Starto
4    EVENT DESIGN                https://weare-starto.com/   https://x.com/official_we_are
5    EVENT DESIGN                https://weare-starto.com/   https://x.com/WEARE_STARTO24
6    EVENT DESIGN                https://weare-starto.com/   https://x.com/live_music48827
7    EVENT DESIGN                https://weare-starto.com/   https://x.com/japantourtv
8    EVENT DESIGN                https://weare-starto.com/   https://x.com/weare__starto
9    EVENT DESIGN                https://weare-starto.com/   https://x.com/WEARE_STARTOJPN
10   EVENT DESIGN                https://weare-starto.com/   https://x.com/were_starto_jp
11   EVENT DESIGN                https://weare-starto.com/   https://x.com/_WEARESTARTO
12   EVENT DESIGN                https://weare-starto.com/   https://x.com/Starto_staff
13   EVENT DESIGN                https://weare-starto.com/   https://x.com/weare_start0
14   EVENT DESIGN                https://weare-starto.com/   https://x.com/Are_Starto__we_
15   EVENT DESIGN                https://weare-starto.com/   https://x.com/Wearestarto_f
16   EVENT DESIGN                https://weare-starto.com/   https://x.com/startofess
17   EVENT DESIGN                https://weare-starto.com/   https://x.com/We_Ar_StartoJP
18   EVENT DESIGN                https://weare-starto.com/   https://x.com/superlive_2024
19   EVENT DESIGN                https://weare-starto.com/   https://x.com/WEARESTARTO_JPN
20   EVENT DESIGN                https://weare-starto.com/   https://x.com/JPliveFES_1
21   EVENT DESIGN                https://weare-starto.com/   https://x.com/FansSbs_jp
22   EVENT DESIGN                https://weare-starto.com/   https://x.com/ArundhatiK110
23   EVENT DESIGN                https://weare-starto.com/   https://x.com/24MusicJAP28526
24   EVENT DESIGN                https://weare-starto.com/   https://x.com/StartoWe5
25   EVENT DESIGN                https://weare-starto.com/   https://x.com/StartoWeare
26   EVENT DESIGN                https://weare-starto.com/   https://x.com/WeStartoFamily
27   EVENT DESIGN                https://weare-starto.com/   https://x.com/WEARE_STARTO_
28   EVENT DESIGN                https://weare-starto.com/   https://x.com/starto_jnp
29   EVENT DESIGN                https://weare-starto.com/   https://x.com/kikujph
30   EVENT DESIGN                https://weare-starto.com/   https://x.com/1_WEARE_STARTO
31   EVENT DESIGN                https://weare-starto.com/   https://x.com/we_are_starto1
32   EVENT DESIGN                https://weare-starto.com/   https://x.com/JP_STREAMING_24
33   EVENT DESIGN                https://weare-starto.com/   https://x.com/we_arestarto_jp
34   EVENT DESIGN                https://weare-starto.com/   https://x.com/TheIdolm46198
35   EVENT DESIGN                https://weare-starto.com/   https://x.com/starto__jp
36   EVENT DESIGN                https://weare-starto.com/   https://x.com/starto_are
37   EVENT DESIGN                https://weare-starto.com/   https://x.com/arestarto
38   EVENT DESIGN                https://weare-starto.com/   https://x.com/JPSTREAMING_24
39   EVENT DESIGN                https://weare-starto.com/   https://x.com/Starto_We
40   EVENT DESIGN                https://weare-starto.com/   https://x.com/moriko_musicfan
                                              EXHIBIT A                                        1 of 4
           Case 3:24-mc-80326-LB    Document 1-3   Filed 12/30/24   Page 5 of 7


41   EVENT DESIGN      https://weare-starto.com/   https://x.com/streamingl35000
42   EVENT DESIGN      https://weare-starto.com/   https://x.com/Weare_startos
43   EVENT DESIGN      https://weare-starto.com/   https://x.com/ArenaNo10038444
44   EVENT DESIGN      https://weare-starto.com/   https://x.com/MiuNamura
45   EVENT DESIGN      https://weare-starto.com/   https://x.com/we__are__starto
46   EVENT DESIGN      https://weare-starto.com/   https://x.com/mariJPan
47   EVENT DESIGN      https://weare-starto.com/   https://x.com/Starto_Are_We_
48   EVENT DESIGN      https://weare-starto.com/   https://x.com/TheIdolm15310
49   EVENT DESIGN      https://weare-starto.com/   https://x.com/Japanbroadcast6
50   EVENT DESIGN      https://weare-starto.com/   https://x.com/we_are__starto
51   EVENT DESIGN      https://weare-starto.com/   https://x.com/ANo98011943
52   EVENT DESIGN      https://weare-starto.com/   https://x.com/JAPANTOKYOLIVE_
53   EVENT DESIGN      https://weare-starto.com/   https://x.com/JAPAN_OFFI_2024
54   EVENT DESIGN      https://weare-starto.com/   https://x.com/Arena00Liv85558
55   EVENT DESIGN      https://weare-starto.com/   https://x.com/We_AreStarto_
56   EVENT DESIGN      https://weare-starto.com/   https://x.com/StartoAre
57   EVENT DESIGN      https://weare-starto.com/   https://x.com/Weare_Starto_x
58   EVENT DESIGN      https://weare-starto.com/   https://x.com/lipi64201278336
59   EVENT DESIGN      https://weare-starto.com/   https://x.com/we__are_startoo
60   EVENT DESIGN      https://weare-starto.com/   https://x.com/jonota18
61   EVENT DESIGN      https://weare-starto.com/   https://x.com/wearestartotv
62   EVENT DESIGN      https://weare-starto.com/   https://x.com/we_are_startohd
63   EVENT DESIGN      https://weare-starto.com/   https://x.com/_we_are__starto
64   EVENT DESIGN      https://weare-starto.com/   https://x.com/official80428
65   EVENT DESIGN      https://weare-starto.com/   https://x.com/starto_we55680
66   EVENT DESIGN      https://weare-starto.com/   https://x.com/Rakib257417
67   EVENT DESIGN      https://weare-starto.com/   https://x.com/StartoWe82377
68   EVENT DESIGN      https://weare-starto.com/   https://x.com/mkhgdrgh2173920
69   EVENT DESIGN      https://weare-starto.com/   https://x.com/24live_NCT
70   EVENT DESIGN      https://weare-starto.com/   https://x.com/60Furusato79
71   EVENT DESIGN      https://weare-starto.com/   https://x.com/Sovon921642
72   EVENT DESIGN      https://weare-starto.com/   https://x.com/Live_link2024
73   EVENT DESIGN      https://weare-starto.com/   https://x.com/24Livestream_jp
74   EVENT DESIGN      https://weare-starto.com/   https://x.com/Rahman289219
75   EVENT DESIGN      https://weare-starto.com/   https://x.com/69livestreaming
76   EVENT DESIGN      https://weare-starto.com/   https://x.com/starto__lets
77   EVENT DESIGN      https://weare-starto.com/   https://x.com/LIVE241485839
78   EVENT DESIGN      https://weare-starto.com/   https://x.com/24_stream60509
79   EVENT DESIGN      https://weare-starto.com/   https://x.com/wearstarto
80   EVENT DESIGN      https://weare-starto.com/   https://x.com/Startmusic99565
81   EVENT DESIGN      https://weare-starto.com/   https://x.com/Kingprincejp
82   EVENT DESIGN      https://weare-starto.com/   https://x.com/artist_2024
83   EVENT DESIGN      https://weare-starto.com/   https://x.com/jpn_live23_
84   EVENT DESIGN      https://weare-starto.com/   https://x.com/WEARELetsg139
85   EVENT DESIGN      https://weare-starto.com/   https://x.com/japanAll80
86   EVENT DESIGN      https://weare-starto.com/   https://x.com/wearestarto_
87   EVENT DESIGN      https://weare-starto.com/   https://x.com/broadcast93890
                                    EXHIBIT A                                      2 of 4
          Case 3:24-mc-80326-LB    Document 1-3   Filed 12/30/24   Page 6 of 7


88  EVENT DESIGN      https://weare-starto.com/   https://x.com/broadcast33842
89 EVENT DESIGN       https://weare-starto.com/   https://x.com/emi_kajp
90 EVENT DESIGN       https://weare-starto.com/   https://x.com/golam70752318
91 EVENT DESIGN       https://weare-starto.com/   https://x.com/onlinetokyo_
92 EVENT DESIGN       https://weare-starto.com/   https://x.com/onlinetokyotv_
93 EVENT DESIGN       https://weare-starto.com/   https://x.com/WERSTARTO
94 EVENT DESIGN       https://weare-starto.com/   https://x.com/L202418465
95 EVENT DESIGN       https://weare-starto.com/   https://x.com/hikari_jpnews
96 EVENT DESIGN       https://weare-starto.com/   https://x.com/we_are_startojp
97 EVENT DESIGN       https://weare-starto.com/   https://x.com/WERSTARTOFICL
98 EVENT DESIGN       https://weare-starto.com/   https://x.com/JPLIVE847637
99 EVENT DESIGN       https://weare-starto.com/   https://x.com/fzijpan
100 EVENT DESIGN      https://weare-starto.com/   https://x.com/budokan_ni82812
101 EVENT DESIGN      https://weare-starto.com/   https://x.com/broadcast7949
102 EVENT DESIGN      https://weare-starto.com/   https://x.com/BroadCast17716
103 EVENT DESIGN      https://weare-starto.com/   https://x.com/Watanab86875
104 EVENT DESIGN      https://weare-starto.com/   https://x.com/startofor_U
105 EVENT DESIGN      https://weare-starto.com/   https://x.com/events_2024
106 EVENT DESIGN      https://weare-starto.com/   https://x.com/sabbir72289105
107 EVENT DESIGN      https://weare-starto.com/   https://x.com/we_starto
108 EVENT DESIGN      https://weare-starto.com/   https://x.com/AK_voting
109 EVENT DESIGN      https://weare-starto.com/   https://x.com/_Japanlive
110 EVENT DESIGN      https://weare-starto.com/   https://x.com/starto_for_U
111 EVENT DESIGN      https://weare-starto.com/   https://x.com/KingSuperLiveJP
112 EVENT DESIGN      https://weare-starto.com/   https://x.com/Startofor_you
113 EVENT DESIGN      https://weare-starto.com/   https://x.com/streamingJ30
114 EVENT DESIGN      https://weare-starto.com/   https://x.com/CunXiang47873
115 EVENT DESIGN      https://weare-starto.com/   https://x.com/DomeTv00
116 EVENT DESIGN      https://weare-starto.com/   https://x.com/WEARELetsg91787
117 EVENT DESIGN      https://weare-starto.com/   https://x.com/Popi423624
118 EVENT DESIGN      https://weare-starto.com/   https://x.com/OshiAkane61873
119 EVENT DESIGN      https://weare-starto.com/   https://x.com/onlinejapan_
120 EVENT DESIGN      https://weare-starto.com/   https://x.com/KpopV6509
121 EVENT DESIGN      https://weare-starto.com/   https://x.com/THESHOWLIV98686
122 EVENT DESIGN      https://weare-starto.com/   https://x.com/Starto_Japann
123 EVENT DESIGN      https://weare-starto.com/   https://x.com/we_arre_starto
124 EVENT DESIGN      https://weare-starto.com/   https://x.com/are_starto
125 EVENT DESIGN      https://weare-starto.com/   https://x.com/ak_ane_jp
126 EVENT DESIGN      https://weare-starto.com/   https://x.com/Rabby6133193961
127 EVENT DESIGN      https://weare-starto.com/   https://x.com/JConcart60318
128 EVENT DESIGN      https://weare-starto.com/   https://x.com/We_Ar_Starto
129 EVENT DESIGN      https://weare-starto.com/   https://x.com/we_are_starrto
130 EVENT DESIGN      https://weare-starto.com/   https://x.com/The1st_BDMA
131 EVENT DESIGN      https://weare-starto.com/   https://x.com/jpliveview1
132 EVENT DESIGN      https://weare-starto.com/   https://x.com/official_xpjp
133 EVENT DESIGN      https://weare-starto.com/   https://x.com/musix_anim46129
134 EVENT DESIGN      https://weare-starto.com/   https://x.com/NArena882383
                                   EXHIBIT A                                      3 of 4
          Case 3:24-mc-80326-LB    Document 1-3   Filed 12/30/24   Page 7 of 7


135 EVENT DESIGN      https://weare-starto.com/   https://x.com/milkmil64625
136 EVENT DESIGN      https://weare-starto.com/   https://x.com/AsscJapan
137 EVENT DESIGN      https://weare-starto.com/   https://x.com/Arena00No
138 EVENT DESIGN      https://weare-starto.com/   https://x.com/fardin1215894
139 EVENT DESIGN      https://weare-starto.com/   https://x.com/Malek1117410
140 EVENT DESIGN      https://weare-starto.com/   https://x.com/WEARELetsg57056
141 EVENT DESIGN      https://weare-starto.com/   https://x.com/STARTO_JP_X
142 EVENT DESIGN      https://weare-starto.com/   https://x.com/Alen646590
143 EVENT DESIGN      https://weare-starto.com/   https://x.com/Sontu87851106
144 EVENT DESIGN      https://weare-starto.com/   https://x.com/startostaff_
145 EVENT DESIGN      https://weare-starto.com/   https://x.com/JAPANSP180801
146 EVENT DESIGN      https://weare-starto.com/   https://x.com/NoArena36535
147 EVENT DESIGN      https://weare-starto.com/   https://x.com/Bondon413366
148 EVENT DESIGN      https://weare-starto.com/   https://x.com/Bari50072137
149 EVENT DESIGN      https://weare-starto.com/   https://x.com/wearestarto_jp
150 EVENT DESIGN      https://weare-starto.com/   https://x.com/WEARELetsg38472
151 EVENT DESIGN      https://weare-starto.com/   https://x.com/official_stf_jp




                                   EXHIBIT A                                      4 of 4
